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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0768V
                                     Filed: February 9, 2017
                                           Unpublished

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JOE GREEN,                 *
                           *
              Petitioner,  *
v.                         *
                           *                               Attorneys’ Fees and Costs;
SECRETARY OF HEALTH        *                               Special Processing Unit (“SPU”)
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
                                                  *
****************************
Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for petitioner.
Colleen C. Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On June 29, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleged that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of receiving an influenza (“flu”) vaccination October
16, 2014. On January 23, 2017, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ joint stipulation. (ECF No. 22).

       On February 7, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 29). Petitioner requests attorneys’ fees in the amount of $12,528.50 and
attorneys’ costs in the amount of $768.55 for a total amount of $13,297.05. Id. at 1. In


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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compliance with General Order #9, petitioner has filed a signed statement indicating he
incurred no out-of-pocket expenses. (ECF No. 29-4).

       On February 8, 2017, respondent filed a response to petitioner’s motion. (ECF
No. 30). In his response, respondent stated that he “does not object to the overall
amount sought, as it is not an unreasonable amount to have been incurred for
proceedings in this case to date.” Id. However, the “lack of objection to the amount
sought … should not be construed as admission, concession, or waiver as to the hourly
rates requested, the number of hours billed, or the other litigation related costs.” Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

       Accordingly, the undersigned awards $13,297.05, 3 representing
reimbursement for all attorneys' fees and costs, in the form of a check payable
jointly to petitioner and petitioner’s counsel, Jeffrey S. Pop.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
